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                              UNITED STATES BANKRUPTCYCOURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


   In re:                                               Chapter 11
                                                        (Subchapter V)
   MARY BRENNA RYLEE,
                                                        Case No. 21-10436
                    Debtor.


                         EXPEDITED AGREED MOTION BETWEEN
                 DEBTOR AND THE DEBTOR’S NON-FILING SPOUSE FOR ORDER
                     MODIFYING THE AUTOMATIC STAY TO ESTABLISH
                   PROCEDURES FOR DIVISION OF COMMUNITY PROPERTY

  TO THE HONORABLE TONY M. DAVIS, UNITED STATES BANKRUPTCY JUDGE:

            Debtor Mary Brenna Rylee (the “Debtor”) files this the Expedited Agreed Motion Between

  Debtor and the Debtor’s Non-Filing Spouse for Order Modifying The Automatic Stay to Establish

  Procedures For Division of Community Property (this “Motion”), and in support hereof,

  respectfully states as follows:

                                     JURISDICTION AND VENUE

            1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.

  This is a “core” proceeding pursuant to 28 U.S.C.§ 157(b). Venue is properly in this Court pursuant

  to 28 U.S.C. §§ 1408 and 1409.

            2.      The statutory predicates for the relief requested herein are sections 105, 362, 541

  of Title 11 of the United States Code, § 101 et seq. (“Bankruptcy Code”), and Federal Rules of

  Bankruptcy Procedure (“Bankruptcy Rules”) 4001 and 9014.




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                                                 BACKGROUND

          3.       On May 31, 2021 (the “Petition Date”), the Debtor filed her voluntary petition for

  relief under Chapter 11 of the Bankruptcy, thereby initiating this bankruptcy case (the “Bankruptcy

  Case”). The Debtor has elected to proceed under Subchapter V of Chapter 11.

          4.       The Debtor is currently in divorce proceedings (the “Divorce Proceeding”) with her

  non-filing spouse, Michael G. Rylee (the “Spouse” and together with the Debtor, the “Parties”),

  which has been pending in Travis County, Texas since April 29, 2020. See In the Matter of the

  Marriage of Mary Brenna Rylee and Michael Gene Rylee, Case No. D-1-FM-20-002371 in the

  353rd Judicial District Court of Travis County, Texas (the “Family Court”).

          5.       A key issue in the Divorce Proceeding and this Bankruptcy Case is the division of

  the Parties’ community property (the “Rylee Community Property”), among which involves three

  valuable business assets – FLX Energy Services, LLC and Flex 24 Fitness, LLC, and S3Tea

  (collectively, the “Rylee Businesses”) and other valuable assets, such as homes in Austin and

  Odessa, Texas.1 Another key issue in the Divorce Proceeding and this Bankruptcy Case relating

  the division of the Rylee Community Property is an evaluation of transactions where money was

  transferred out of the Rylee Business by one of the Parties (the “Unauthorized Transactions”) and

  the impact of the Unauthorized Transactions on the fair and equitable division of the Rylee

  Community Property.

          6.       The Parties seek the entry of a protocol for (i) evaluating the Unauthorized

  Transactions, (ii) valuing and dividing the Rylee Community Property, including retaining the

  assistance of an expert financial advisor (the “Financial Advisor”) to be selected by the Subchapter

  V Trustee (the “Trustee”) in this case, and (iii) sharing costs related to division of the Rylee


  1
   The Court has authorized the sale of the Odessa home under a contract entered into by the Parties pre-petition. See
  Docket No. 36.


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  Community Property. Given the challenges in valuing the business assets, the importance of

  having a neutral party value the Rylee Community Property, and evaluating the Unauthorized

  Transactions, the Parties believe the protocol outlined in the Order is in the best interest for the

  Parties and creditors in this Bankruptcy Case. The Parties agree and stipulate that the findings of

  the Financial Advisor regarding valuation of assets and forensic conclusions are binding between

  the Parties, subject to Court approval and objections of creditors.

                                            RELIEF REQUESTED

          7.      By this Motion, the Parties seek entry of the proposed Order submitted herewith

  (the “Order”) which includes a protocol jointly approved by the Parties for valuing and attempting

  to divide the Rylee Community Property under the supervision of the Trustee.

          8.      Section 105(a) of the Bankruptcy Code provides that the Court “may issue any

  order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

  11 U.S.C. § 105(a). Further, Section 362(d) provides that the Court has authority to modify the

  automatic stay of Section 362(a). 11 U.S.C. § 362(d).

          9.      Here, the Parties only seek entry of a protocol so they can attempt to decide how

  the Rylee Community Property will be divided, with the ultimate determination on any estate

  property divisions left to be decided by the Court. Entry of the proposed protocol will not

  adversely affect creditors. Rather, it will aide the Debtor in formulating a chapter 11 plan, which

  will ultimately benefit all creditors and parties-in-interest. As such, the Parties believe that entry

  of the Order is a proper exercise of this Court’s authority and appropriate relief for the Parties and

  creditors in this Bankruptcy Case.




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                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that this

  Court: (i) grant this Motion; (ii) enter the Order, and (iii) grant such other and further relief the

  Court deems just and equitable.

  Dated: July 8, 2021                           Respectfully submitted,

                                                HUSCH BLACKWELL LLP

                                                By: /s/ Jameson J. Watts
                                                    Lynn Hamilton Butler
                                                    State Bar No. 03527350
                                                    Jameson J. Watts
                                                    State Bar No. 24079552
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                                                    Austin, Texas 78701
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                                                PROPOSED COUNSEL FOR DEBTOR MARY
                                                BRENNA RYLEE




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                                CERTIFICATE OF CONFERENCE

          I certify that I conferred with all counsel of record regarding the relief sought in this Motion
  and its expedited consideration. The Debtor’s non-filing spouse agrees to the relief requested in
  this Motion and its expedited consideration. The Subchapter V Trustee, American Momentum
  Bank, and SouthStar Bank have no objection to the relief requested in this Motion and its expedited
  consideration. Ector County, Texas and the U.S. Trustee take no position on the relief requested
  in this Motion and have no objection to its expedited consideration. As of the filing of the Motion,
  no other parties have taken a position with respect to the relief requested in the Motion or its
  expedited consideration.

                                                          /s/ Jameson J. Watts
                                                         Jameson J. Watts

                                    CERTIFICATE OF SERVICE

         I certify that on July 8, 2021, a copy of this document was served upon the parties and by
  the means indicated below.

                                                         /s/ Jameson J. Watts
                                                         Jameson J. Watts

  Notice will be served via ECF to:

  Mary Brenna Rylee                                      Ector CAD
  c/o Jameson J. Watts                                   c/o Don Stecker
  Husch Blackwell LLP                                    Linebarger Goggan Blair & Sampson, LLP
  111 Congress Avenue, Suite 1400                        112 E. Pecan Street, Suite 2200
  Austin, TX 78701                                       San Antonio, TX 78205
  Email:                                                 Email: don.stecker@lgbs.com
  Jameson.watts@huschblackwell.com
                                                         Michael G. Rylee
  American Momentum Bank                                 c/o Fareed Iqbal Kaisani
  c/o Bruce Ruzinsky                                     Platt Cheema Richmond PLLC
  Jackson Walker LLP                                     1201 N. Riverfront Blvd., Suite 150
  1401 McKinney Street, Suite 1900                       Dallas, TX 75207
  Houston, TX 77010                                      Email: fkaisani@pcrfirm.com
  Email: bruzinsky@jw.com

  American Momentum Bank                                 Southstar Bank, S.S.B.
  c/o Jennifer F. Wertz                                  c/o Richard T. Chapman
  100 Congress Avenue, Suite 1100                        Anderson, Smith, Null & Stofer, L.L.P.
  Austin, TX 78701                                       100 West Goodwin, Suite 700
  Email: jwertz@jw.com                                   Post Office Box 1969
                                                         Victoria, TX 77902
                                                         Email: rchapman@andersonsmith.com



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  Subchapter V Trustee                       Ector County Tax Assessor/Collector
  c/o Michael Colvard                        1010 East Eighth Street, Suite 100
  Weston Center                              Odessa, TX 79761
  112 East Pecan Street, Suite 1616
  San Antonio, TX 78205                      Friday Milner Lambert Turner, PLLC
  Email: mcolvard@mdtlaw.com                 3401 Glenview Avenue
                                             Austin, TX 78703
  Travis County
  c/o Jason A. Starks                        GTG Solutions, Inc.
  Travis County Attorney                     c/o Bob. J. Shelton P.C.
  P.O. Box 1748                              5103 Chad Drive
  Austin, TX 78767                           Arlington, TX 76017
  Email: jason.starks@traviscountytx.gov
                                             GTG Solutions, Inc.
  United States Department of Justice        c/o Anna Hand-Registered Agent
  Office of the United States Trustee        500 West Sherman
  c/o J. Casey Roy, Trial Attorney           Chico, TX 76431
  903 San Jacinto Blvd., Suite 230
  Austin, TX 78701                           Haygood Law Firm
  Email: Casey.Roy@usdoj.gov                 c/o Lane Haygood
                                             522 North Grant Avenue
  United States Trustee – AU12               Odessa, TX 79761
  903 San Jacinto Blvd., Suite 230
  Austin, TX 78701                           Internal Revenue Service
  Email: ustpregion07.au.ecf@usdoj.gov       Special Procedures
                                             Stop 5022 AUS
  Notice will be mailed via United States    300 East 8th Street
  first-class mail to:                       Austin, TX 78701

  Briggs & Veselka Co                        Internal Revenue Service
  c/o Edward Fowler                          Centralized Insolvency Operations
  901 S. Mopac Expressway                    P. O. Box 7346
  Bldg. II, Suite 450                        Philadelphia, PA 19101-7346
  Austin, TX 78746
                                             James Firm PLLC
  Capital One Bank USA NA                    c/o Amanda James
  PO Box 31293                               1316 5th Avenue
  Salt Lake City, UT 84131-1293              Fort Worth, TX 76104

  Community National Bank                    John Manicom
  1502 Avenue M                              PO Box 341420
  Hondo, TX 78861                            Austin, TX 78734

  Community National Bank
  2659 John Ben Shepperd Pkwy.
  Odessa, TX 79762



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  Michael G. Rylee
  101 Colorado, Apt. 3007
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  Texas Comptroller of Public Accounts
  Revenue Acctg Div - Bankruptcy Section
  P.O. Box 13528
  Austin, TX 78711-3528

  Texas Workforce Commission
  Tax-Collections
  101 E. 15th Street
  Austin, TX 78778-0001

  Travis County Tax Assessor-Collector
  P.O. Box 149326
  Austin, TX 78714




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